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                                                                                    3/18/2008
    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    MARK E. FELGER (MF9985)
    JERROLD N. POSLUSNY, JR. (JP7140)
    COZEN O’CONNOR
    LibertyView, Suite 300
    457 Haddonfield Road
    Cherry Hill, NJ 08002
    (856) 910-5000
    Proposed Attorneys for the Debtors

    In re:                                                    Case No. 08-14631
    SHAPES/ARCH HOLDINGS L.L.C., et al.,
                                                              Judge: Gloria M. Burns
                    Debtors.
                                                              Chapter: 11



                   Recommended Local Form:                 Followed             Modified


     ORDER AUTHORIZING RETENTION OF EPIQ BANKRUPTCY SOLUTIONS, LLC
      AS OFFICIAL NOTICING, CLAIMS AND/OR SOLICITATION AND BALLOTING
                          AGENT FOR THE DEBTORS

             The relief set forth on the following pages, numbered two (2) through three (3) is hereby
             ORDERED.




DATED: 3/18/2008
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Shapes/Arch Holdings L.L.C., et al.

Case No: 08-

Order Authorizing Retention of Epiq Bankruptcy Solutions, LLC as Official Noticing, Claims and/or Solicitation
and Balloting Agent for the Debtors


In re:            Shapes/Arch Holdings L.L.C., et al.
Case No.:         08-
Applicant:        Shapes/Arch Holdings L.L.C., et al.

                       Trustee:                    Chap. 7                Chap. 11                 Chap. 13

                       Debtors:                    Chap. 11               Chap. 13

                       Official Committee of

Name:                                 Epiq Bankruptcy Solutions, LLC (“Epiq”)
Address:                              757 Third Avenue, 3rd Floor
                                      New York, NY 10017


              Attorney for:              Trustee                 Debtors-in-Possession

                                         Official Committee of

              Accountant for:            Trustee                 Debtor-in-Possession

                                         Official Committee of

              Other:

                                         Realtor         Appraiser                Special Counsel

                                         Auctioneer      Other (specify): official noticing, claims and/or
                                                                          solicitation and balloting agent
                                                                          for the Debtors



                  Upon the applicants’ request for authorization to retain Epiq, It is hereby

ORDERED as follows:

         1.       The applicants, Shapes/Arch Holdings L.L.C., Shapes L.L.C., Delair L.L.C.,

Accu-Weld L.L.C. and Ultra L.L.C., are authorized to retain the above party in the capacity

noted.



                                                         2

                                                                     Approved by Judge Gloria M. Burns March 18, 2008
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Shapes/Arch Holdings L.L.C., et al.

Case No: 08-

Order Authorizing Retention of Epiq Bankruptcy Solutions, LLC as Official Noticing, Claims and/or Solicitation
and Balloting Agent for the Debtors


         2.      The fees and expenses of Epiq are to be treated as an administrative expense of

the Debtors’ estates and shall be paid first from its retainer, and then by the Debtors in the

ordinary course of business. Epiq has not received nor will it be entitled to any post-petition

“replenishment” of its retainer.

         3.      The effective date of the retention is the date the application was filed with the

Court.




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                                                                   Approved by Judge Gloria M. Burns March 18, 2008
